        Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 1 of 35



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                        :          1:21-CR-234-CJN
                                                :
                    v.                          :
                                                :
JOSEPH W. FISCHER,                              :



     MOTION TO DISMISS COUNTS ONE, THREE, FOUR AND FIVE OF
                 THE SUPERSEDING INDICTMENT

       Defendant Joseph W. Fischer moves to dismiss Counts One, Three, Four and

Five of the Superseding Indictment and, in support of the motion, sets forth the

following facts and argument.

I.     INTRODUCTION

       Mr. Fischer is charged in a superseding indictment with, inter alia, civil

disorder in violation of 18 U.S.C. § 231(a)(3) (Count One), obstruction of an

official proceeding in violation of 18 U.S.C. § 1512(c)(2) (Count Three), entering

and remaining in a restricted building or grounds in violation of 18 U.S.C. §

1752(a)(1) (Count Four), and disorderly and disruptive conduct in a restricted

building or grounds in violation of 18 U.S.C. § 1752(a)(2) (Count Five). (Doc.

52). All of the charges against Mr. Fischer arise out of the events that took place at

the United States Capitol on January 6, 2021.

       Mr. Fischer moves this Honorable Court to dismiss Counts One, Three, Four

and Five for the reasons set forth below.
                                            1
        Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 2 of 35



II.   STANDARDS OF REVIEW

      A.     Motion to Dismiss

      An indictment must be a “plain, concise, and definite written statement of

the essential facts constituting the offense charged.” FED. R. CRIM. P. 7(c)(1). An

indictment “must provide the defendant sufficient detail to allow him to prepare a

defense, to defend against a subsequent prosecution of the same offense, and to

ensure that he be prosecuted upon facts presented to the grand jury.” United States

v. Apodaca, 275 F. Supp. 3d 123, 153 (D.D.C. 2017) (citing Russell v. United

States, 369 U.S. 749 (1962), and Stirone v. United States, 361 U.S. 212 (1960)). A

defendant “may raise by pretrial motion any defense, objection, or request that the

Court can determine without a trial on the merits.” FED. R. CRIM. P. 12(b)(3)(B).

Rule 12 provides that a defendant may also move to dismiss the indictment for

“failure to state an offense” and “lack of specificity.” FED. R. CRIM. P.

12(b)(3)(B)(iii), (v). In considering a Rule 12 motion to dismiss, “the Court is

bound to accept the facts stated in the indictment as true.” United States v. Syring,

522 F. Supp. 2d 125, 128 (D.D.C. 2007); United States v. Sampson, 371 U.S. 75,

78 (1962). Accordingly, “the Court cannot consider facts beyond the four corners

of the indictment.” United States v. Ring, 628 F. Supp. 2d 195, 204 (D.D.C.

2009)(internal quotations omitted).




                                          2
        Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 3 of 35



       B.     Statutory Interpretation

       To determine the legislative intent of a law, courts “always, [ ] begin with

the text of the statute.” Am. Fed’n of Gov’t Emps., AFL-CIO, Local 3669 v.

Shinseki, 709 F.3d 29, 33 (D.C. Cir. 2013). “It is elementary that the meaning of a

statute must, in the first instance, be sought in the language in which the act is

framed, and if that is plain . . . the sole function of the courts is to enforce it

according to its terms.” United States v. Hite, 769 F.3d 1154, 1160 (D.C. Cir.

2014) (quoting Caminetti v. United States, 242 U.S. 470, 485 (1917) (internal

quotes omitted)). “The search for the meaning of the statute must also include an

examination of the statute’s context and history.” Hite, 769 F.3d at 1160 (citing

Bailey v. United States, 516 U.S. 137, 144-45 (1995)). Importantly, “due process

bars courts from applying a novel construction of a criminal statute to conduct that

neither the statute nor any prior judicial decision has fairly disclosed to be within

its scope.” United States v. Lanier, 520 U.S. 259, 266 (1997).

       C.     Vagueness

       A criminal statute is unconstitutionally vague if it “fails to give ordinary

people fair notice of the conduct it punishes, or [is] so standardless that it invites

arbitrary enforcement.” United States v. Bronstein, 849 F.3d 1101, 1106 (D.C. Cir.

2017) (quoting Johnson v. United States, 576 U.S. 591, 595 (2015)). “The

touchstone is whether the statute, either standing alone or as construed, made it

reasonably clear at the relevant time that the defendant’s conduct was criminal.”

                                             3
        Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 4 of 35



United States v. Lanier, 520 U.S. 259 (1997). The void-for-vagueness doctrine

protects against arbitrary or discriminatory law enforcement. Sessions v. Dimaya,

138 S. Ct. 1204, 1212 (2018) (citing Kolender v. Lawson, 461 U.S. 352, 358

(1983)).

III.   MOTION TO DISMISS COUNT ONE – CIVIL DISORDER

       Count One of the Superseding Indictment charges Mr. Fischer with a

violation of 18 U.S.C. § 231(a)(3), as follows:

       On or about January 6, 2021, within the District of Columbia, Joseph
       W. Fischer, committed and attempted to commit an act to obstruct,
       impede, and interfere with a law enforcement officer lawfully engaged
       in the lawful performance of his/her official duties incident to and
       during the commission of a civil disorder which in any way and
       degree obstructed, delayed, and adversely affected commerce and the
       movement of any article and commodity in commerce and the conduct
       and performance of any federally protected function.

(Doc. 52, pp. 1-2).

       18 U.S.C. § 231(a)(3), Civil disorders, provides that:

       Whoever commits or attempts to commit any act to obstruct, impede,
       or interfere with any fireman or law enforcement officer lawfully
       engaged in the lawful performance of his official duties incident to
       and during the commission of a civil disorder which in any way or
       degree obstructs, delays, or adversely affects commerce or the
       movement of any article or commodity in commerce or the conduct or
       performance of any federally protected function shall be fined under
       this title or imprisoned not more than five years or both.

18 U.S.C. § 231(a)(3) (emphasis added). This subsection of the civil disorder

penal statute is overbroad and unconstitutionally vague because §231(a)(3)’s

imprecise and subjective standards fail to provide fair notice and creates significant

                                          4
        Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 5 of 35



risk of arbitrary enforcement. Further, several of the statute’s terms are so broad

and indefinite as to impose unqualified burdens on a range of protected expression.

       A.     Section 231(a)(3) is Unconstitutionally Vague

       “The prohibition of vagueness in criminal statutes ‘is a well-recognized

requirement, consonant alike with ordinary notions of fair play and the settled rules

of law,’ and a statute that flouts it ‘violates the first essential of due process.’”

Johnson v. United States, 576 U.S. 591, 595 (2015) (quoting Connally v. General

Constr. Co., 269 U.S. 385, 391 (1926)). As the Supreme Court has explained,

      [i]t is a basic principle of due process that an enactment is void for
      vagueness if its prohibitions are not clearly defined. Vague laws
      offend several important values. First, because we assume that man is
      free to steer between lawful and unlawful conduct, we insist that laws
      give the person of ordinary intelligence a reasonable opportunity to
      know what is prohibited, so that he may act accordingly. Vague laws
      may trap the innocent by not providing fair warning. Second, if
      arbitrary and discriminatory enforcement is to be prevented, laws
      must provide explicit standards for those who apply them. A vague
      law impermissibly delegates basic policy matters to policemen,
      judges, and juries for resolution on an ad hoc and subjective basis,
      with the attendant dangers of arbitrary and discriminatory application.
      Third, but related, where a vague statute abuts upon sensitive areas of
      basic First Amendment freedoms, it operates to inhibit the exercise of
      those freedoms.

Grayned v. City of Rockford, 408 U.S. 104, 108 (1972) (internal citations and

quotations omitted). As mentioned by the Supreme Court in Grayned, vagueness

concerns are most acute when the statute imposes criminal penalties and implicates

the First Amendment by chilling exercise of protected expression. See Kolender v.

Lawson, 461 U.S. 352, 358-59 n. 8 (1983); Village of Hoffman Estates v. Flipside,

                                            5
        Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 6 of 35



455 U.S. 489, 498-99 (1982); see also Smith v. Goguen, 415 U.S. 566, 573 (1974)

(Where “a statute’s literal scope [reaches] expression sheltered by the First

Amendment, the [vagueness] doctrine demands a greater degree of specificity than

in other contexts.”).

      Section 231(a)(3) is replete with vague and imprecise terms that fail to

provide a person of ordinary intelligence a reasonable opportunity to know what

conduct is prohibited. The following examples are illustrative of §231(a)(3)’s

vagueness.

      “Any Act to Obstruct, Impede, or Interfere”

      By penalizing “any act to obstruct, impede, or interfere,” §231(a)(3)

reaches the outer limits of verbal and expressive conduct without drawing

any distinction that could exclude acts undertaken merely to convey a

message or symbolic content. See Roy v. City of Monroe, 950 F.3d 245, 252

(5th Cir. 2020) (acknowledging that “[s]tanding alone . . . a prohibition on

‘any act [undertaken] in such a manner as to disturb or alarm the public’

fails meaningfully to guide the police and thus poses a substantial risk of

arbitrary or discriminatory enforcement.”) (quoting Louisiana v. Cox, 379

U.S. 536, 551-52 (1965)). The phrase “any act to obstruct, impede, or

interfere” can fairly include within its plain meaning such diverse acts as

pure speech, expressive conduct, minimal jostling, or even grievous, violent

assaults.

                                          6
        Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 7 of 35



       “Incident to and During the Commission of a Civil Disorder”

       The phrasing “incident to and during the commission of a civil

disorder” is also problematic for its vagueness. The term “civil disorder,” as

defined under §232(1), is extremely far-reaching, applying to “any public

disturbance involving acts of violence by assemblages of three or more

persons, which causes an immediate danger of . . . injury to the property.”

18 U.S.C. § 232(1). This definition of “civil disorder” offers no limitation to

solve the vagueness problem because it could apply to virtually any

tumultuous public gathering to which police might be called, not just large-

scale protests or riots. Further, there is no indication within the statute

whether the defendant is required to have participated in the civil disorder,

or if it is sufficient that he or she be in the general vicinity of the event.

       Lack of Scienter

       The Supreme Court has repeatedly affirmed that “a scienter

requirement may mitigate a law’s vagueness, especially with respect to the

adequacy of notice to the complainant that his conduct is proscribed.” Vill.

of Hoffman Ests. at 499. But here, there is no such mitigation, because

Section 231(a)(3) contains no scienter requirement, thus creating ‘a trap for

those who act in good faith.’” Colautti v. Franklin, 439 U.S. 379, 395 (1979)

(quoting United States v. Ragen, 314 U.S. 513, 524 (1942)). Because the

statute omits an express mens rea requirement, it is left to police,

                                             7
        Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 8 of 35



prosecutors, and judges to decide whether the statute requires knowledge or

specific intent or neither. The absence of a scienter/mens rea element

weighs in further favor of the statute’s unconstitutionality.

      By enacting a statute with such imprecise language, Congress created

“a criminal prohibition of alarming breadth.” United States v. Stevens, 559

U.S. 460, 474 (2010). “Vague statutes threaten to hand responsibility for

defining crimes to relatively unaccountable police, prosecutors, and judges,

eroding the people’s ability to oversee the creation of the laws they are

expected to abide.” United States v. Davis, 139 S. Ct. 2319, 2325 (2019).

Section 231(a)(3)’s scope “may entirely depend” on a law enforcement

official’s unbounded speculation about subjective factors, Coates v.

Cincinnati, 402 U.S. 611, 614 (1971), thus subjecting “individuals to the risk

of arbitrary or discriminatory prosecution and conviction.” United States v.

Kozminski, 487 U.S. 931, 949-50 (1988) (holding statute unconstitutionally

vague where liability “depend[ed] entirely upon the victim’s state of mind”).

      In Houston v. Hill, 482 U.S. 451 (1987), the Supreme Court declared

unconstitutional a municipal ordinance that made it unlawful to interrupt a

police officer in the performance of his or her duties, finding that the

ordinance’s sweeping nature was neither “inevitable” nor “essential to

maintain public order.” 482 U.S. at 464. Because the ordinance was “not

narrowly tailored to prohibit only disorderly conduct or fighting words,” it

                                           8
        Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 9 of 35



wrongly gave police “unfettered discretion to arrest individuals for words or

conduct that annoy or offend them.” Id. at 465. Similarly, here, §231(a)(3)

casts far too wide a net. By expansively encompassing “any act” that could

interfere with the duties of a police officer or firefighter during a civil

disorder, §231(a)(3) is not limited to “violent acts” or acts that result in

bodily injury or that otherwise put persons or property in imminent danger.

C.f. United States v. Reese, 92 U.S. (2 Otto) 214, 221 (1876) (“It would

certainly be dangerous if the legislature could set a net large enough to catch

all possible offenders, and leave it to the courts to step inside and say who

could be rightfully detained, and who should be set at large.”). Moreover,

the statute does not weed out those acts with protected expressive content or

those that occur in a traditional public forum. Instead, as shall be developed

further, infra, §231(a)(3) reaches a substantial amount of expressive

conduct, and without clear boundaries, the law chills free speech and invites

discriminatory application by law enforcement and the government.

      B.     Section 231(a)(1) Impermissibly Criminalizes Protected
             Speech under the First Amendment

      “In the First Amendment context, . . . a law may be invalidated as overbroad

if ‘a substantial number of its applications are unconstitutional, judged in relation

to the statute’s plainly legitimate sweep.’” United States v. Stevens, 559 U.S. 460,

473 (2010) (quoting Washington State Grange v. Washington State Republican

Party, 552 U.S. 442, 449 (2008)). The first Amendment protects expressive
                                            9
        Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 10 of 35



conduct like cross-burning, flag-burning and assembly in inconvenient places. 1

Conduct is considered expressive, and therefore protected, under the First

Amendment when it “is intended to convey a ‘particularized message’ and the

likelihood is great that the message would be so understood.” Knox v. Brnovich,

907 F.3d 1167, 1181 (9th Cir. 2018) (quoting Nunez v. Davis, 169 F.3d 1222, 1226

(9th Cir. 1999)).

       The plain language of §231(a)(3) is at odds with the protections of the First

Amendment. Indeed, the broadness of §231(a)(3)’s scope would presumably

authorize a felony conviction for a bystander who yells at police to desist from an

arrest, one who flips off officers to distract or encourage resistance, or one who

records police activity with a cell phone. See Hill, 482 U.S. at 459 (“[W]e have

repeatedly invalidated laws that provide the police with unfettered discretion to

arrest individuals for words or conduct that annoy or offend them.”); Glick v.

Cunniffe, 655 F.3d 78, 83 (1st Cir. 2011) (“[T]he First Amendment protects the

filming of government officials in public places.”). The First Amendment does not

permit an unqualified prohibition on “interference” with police duties because “the

freedom of individuals verbally to oppose or challenge police action without

thereby risking arrest is one of the principal characteristics by which we


1
  See Virginia v. Black, 538 U.S. 343, 365-66 (2003) (“[S]ometimes the cross burning is a
statement of ideology, a symbol of group solidarity”); Texas v. Johnson, 491 U.S. 397, 405-06
(1989) (flag burning constituted “expressive conduct” protected by the First Amendment); Clark
v. Cmty. For Creative Non-Violence, 468 U.S. 288, 293 (1984) (assuming that “sleeping in
connection with the demonstration is expressive conduct protected to some extent by the First
Amendment.”).
                                              10
       Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 11 of 35



distinguish a free nation from a police state.” Hill, 482 U.S. at 462-462; see also

McCoy v. City of Columbia, 929 F. Supp. 2d 541, 550 (D.S.C. 2013) (invalidating

a state statute for overbreadth that made it “unlawful for any person to interfere

with or molest a police officer in the lawful discharge of his duties.”).

      Such broad criminal statutes like §231(a)(3) “must be scrutinized with

particular care.” Hill, 482 U.S. at 459; see also Winters v. New York, 333 U.S.

507, 515 (1948) (“The standards of certainty in statutes punishing for offenses is

higher than in those depending primarily upon civil sanction for enforcement.”).

Criminal laws that “make unlawful a substantial amount of constitutionally

protected conduct may be held facially invalid even if they also have legitimate

application.” Id. Section 231(a)(3) extends to a substantial amount of

constitutionally protected speech and expressive conduct, well in excess of the

law’s legitimate sweep.

      C.     Section 231(a)(3) Cannot be Saved by Construction without
             Violating the Constitutional Separation of Powers

      Judicial interpretation cannot save §231(a)(3) from its constitutional

invalidity. A statute’s vagueness does not permit judges to “rewrite a law to

confirm it to constitutional requirements, for doing so would constitute a serious

invasion of the legislative domain, and sharply diminish Congress’s incentive to

draft a narrowly tailored law in the first place.” Stevens, 559 U.S. at 481. Rather,

“[w]hen Congress passes a vague law, the role of the courts under our Constitution


                                          11
       Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 12 of 35



is not to fashion a new, clearer law to take its place, but to treat the law as a nullity

and invite Congress to try again.” Davis, 139 S. Ct. at 2323.

      For all of the foregoing reasons, Count One of the Superseding Indictment

must be dismissed.

IV.   MOTION TO DISMISS COUNT THREE – OBSTRUCTION OF
      JUSTICE

      Count Three of the Indictment charges Mr. Fischer with a violation of 18

U.S.C. § 1512(c)(2), as follows:

      On or about January 6, 2021, within the District of Columbia and
      elsewhere, Joseph W. Fischer, attempted to, and did, corruptly
      obstruct, influence, and impede an official proceeding, that is, a
      proceeding before Congress, specifically, Congress’s certification of
      the Electoral College vote as set out in the Twelfth Amendment of the
      Constitution of the United States and 3 U.S.C. §§ 15-18

(Doc. 52, p. 2).

      Section 1512(c) falls under Chapter 73 of Title 18, which deals with

“Obstruction of Justice.” See generally, 18 U.S.C. §§ 1501-1521. As the Ninth

Circuit has carefully considered and recognized, based on the plain language of the

statute, an offense under §1512(c) does not prohibit the obstruction of every

governmental function; it only prohibits the obstruction of proceedings such as a

hearing that takes place before a tribunal. See United States v. Ermoian, 752 F.3d

1165, 1179 (9th Cir. 2013). Stated differently, Section 1512(c), by its plain

language, does not criminalize the obstruction of legislative action by Congress.

Any alleged obstruction of the certification of the Electoral College vote is simply

                                           12
        Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 13 of 35



outside the scope of §1512(c). Alternatively, on its face §1512 is constitutionally

infirm because of its inherent vagueness and arbitrary enforcement in the panoply

of January 6th cases.

      1.     Section 1512 Must be Strictly Construed

      18 U.S.C. § 1512 prohibits “corruptly. . . obstruct[ing], influenc[ing], or

imped[ing] any official proceeding, or attempt[ing] to do so.” Id. (emphasis

added). Section 1515(a)(1) of Chapter 73 of Title 18 defines an official proceeding

as:

      (A) a proceeding before a judge or court of the United States, a
      United States magistrate judge, a bankruptcy judge, a judge of the
      United States Tax Court, a special trial judge of the Tax Court, a
      judge of the United States Court of Federal Claims, or a Federal grand
      jury;

      (B)    a proceeding before the Congress;

      (C) a proceeding before a Federal Government agency which is
      authorized by law; or

      (D) a proceeding involving the business of insurance whose
      activities affect interstate commerce before any insurance regulatory
      official or agency or any agen tor examiner appointed by such official
      or agency to examine the affairs of any person engaged in the business
      of insurance whose activities affect interstate commerce[.]
18 U.S.C. § 1515(a)(1). Count Three of the Indictment against Mr. Fischer

concerns “a proceeding before the Congress” as set forth in §1515(a)(1)(B).

      With respect to 18 U.S.C. § 1512, the Supreme Court has instructed lower

courts to “exercise[] restraint in assessing the reach of [the] . . . statute both out of

deference to the prerogatives of Congress . . . and out of concern that a fair

                                            13
        Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 14 of 35



warning should be given to the world in language that the common world will

understand, of what the law intends to do if a certain line is passed.” United States

v. Arthur Anderson, LLP, 544 U.S. 696, 703 (2005) (internal citations and

quotations omitted) (strictly construing §1512(b)(2)’s broadly worded language in

finding that jury instructions failed to instruct that knowledge of wrongdoing and

proof of a nexus between the alleged obstruction and an official proceeding were

required elements of the offense).

               2.      An “Official Proceeding” under §1512(c) Concerns the
                       Administration of Justice

       A review of the text, history, and judicial interpretations of §1512, especially

in light of the Supreme Court’s long-standing guidance to strictly construe penal

statutes, demonstrates that §1512(c), which punishes obstruction of “official

proceedings,” does not apply to the Electoral College certification.2

       Ermoian was one of the first appellate decisions to consider the meaning of

“official proceeding” as that term is used in §1512(c) and defined in §1515. See

Ermoian, 752 F.3d at 1168 (“Our circuit has never before addressed the meaning

of the term ‘official proceeding’ as used in the obstruction of justice statute at 18



2
  Congress counts the electoral votes pursuant to the Twelfth Amendment to the United States
Constitution and the Electoral Count Act of 1887, later codified in 3 U.S.C. § 15. Congress
counts the electoral votes after the states have already heard any disputes and certified the vote.
See Bush v. Gore, 531 U.S. 98, 154 (2000) (Breyer, J., dissenting). Members of Congress may
make an objection, in writing, and without argument. 3 U.S.C. § 15. According to the statute,
there is no testimony, no witnesses, no argument, and no evidence introduced at the electoral
count. The event is merely ceremonial. See Stephen A. Siegel, The Conscientious
Congressman’s Guide to the Electoral Count Act of 1887, 56 FLLR 541, 585 (2004).
                                                 14
       Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 15 of 35



U.S.C. § 1512”). The Ermoian court, tasked with deciding whether a criminal

investigation by the FBI was considered an “official proceeding” for purposes of

§1512(c), noted that “the definition of the phrase ‘official proceeding’ depends

heavily on the meaning of the word ‘proceeding.’” Id. at 1169.

      Reviewing the plain language of §1515, the Ermoian court explained that

“[s]everal aspects of the definition for ‘official proceeding’ suggest that the legal –

rather than lay – understanding of the term ‘proceeding’ is implicated in the

statute.” Id. at 1170. The court noted that “the descriptor ‘official’ indicates a

sense of formality normally associated with legal proceedings,” and not “a mere

‘action or series of actions.’” Id. (citing “Proceeding,” Oxford English Dictionary,

available at http://www.oed.com). Moreover, the court pointed to the fact that

“the word ‘proceeding’ is surrounded with other words that contemplate a legal

usage of the term, including ‘judge or court,’ ‘Federal grand jury,’ ‘Congress,’ and

‘Federal Government agency.’” Id.

      The Ninth Circuit further observed that

      Examining the term ‘proceeding’ within the grammatical structure of
      the definition at issue, it becomes clear that the term connotes some
      type of formal hearing. [Section 1515(a)(1)(C)] refers to proceedings
      “before a Federal Government agency” – a choice of phrase that
      would be odd if it were referring to criminal investigations. The use
      of the preposition “before” suggests an appearance in front of the
      agency sitting as a tribunal.

Id. at 1170-71 (internal citation omitted)(emphasis added); see also United States

v. Ramos, 537 F.3d 439, 462-63 (5th Cir. 2008)(“use [of] the preposition ‘before’

                                          15
         Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 16 of 35



in connection with the term ‘Federal Government agency’ . . . implies that an

‘official proceeding involves some formal convocation of the agency in which

parties are directed to appear.”). The court also considered that §1512 uses the

terms “attendance, “testimony,” “production” and “summon[]” when describing an

official proceeding, and found the use of these terms “strongly implie[d] that some

formal hearing before a tribunal is contemplated.” Id. at 1172.

       The logic and reasoning used by the Ermoian court in considering whether

an FBI investigation fell under the scope of §1512(c) applies with equal force to

interpreting the term “proceedings before the Congress.” Taking §1512 and the

definitions contained in §1515 as a whole, it is plain that the statute is directed at

conduct that interferes with the administration of justice. 3 Even the title of the

statute, “Tampering with a witness, victim, or an informant,” suggests an

adversarial proceeding related to the administration of justice. 4 There is little

doubt that §1512 only criminalizes obstructive conduct related to a hearing before



3
  See McAndrew v. Lockheed Martin Corp., 206 F.3d 1031, 1039 (11th Cir. 2000)(“Section 1512
. . . applies to attempts to prevent or influence testimony not only in federal courts but also before
Congress, federal agencies, and insurance regulators.”)(emphasis added); United States v. Dunn,
434 F. Supp. 2d 1203, 1207 (MD. Ga. 2006)(“ . . . § 1515(a)(1) . . . describe[s] events that are
best thought of as hearings (or something akin to hearings): for example, federal court cases,
grand jury testimony, Congressional testimony, and insurance regulatory hearings.”)(emphasis
added); United States v. Georgia, 2014 WL 2084891 (N.D. Georgia 2014) (“official proceeding”
for purposes of §1512(c) did not include a FBI investigation); United States v. Sutherland, 921
F.3d 421 (4th Cir. 2019) (the term “proceeding” implies ‘some formal convocation . . . in which
parties are directed to appear”) (quoting United States v. Young, 916 F.3d 368, 384 (4th Cir.
2019)).
4
  See I.N.S. v. Nat’l Ctr. for Immigrants’ Rts., Inc., 502 U.S. 183, 189 (1991)(“[T]he title of a
statute or section can aid in resolving an ambiguity in the legislation’s text.”).
                                                 16
        Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 17 of 35



a tribunal affecting the administrative of justice and the ceremonial certification of

the Electoral College votes does not qualify as an “official proceeding” under the

statute.5

               3.      The Legislative History Demonstrates that §1512(c)
                       Concerns the Administration of Justice

       Section 1512(c)(2) was enacted as part of the Sarbanes-Oxley Act of 2002,

which was titled “Corporate Fraud Accountability,” and had the express purpose of

targeting “corporate malfeasance.” Pub. L. No. 107-204, 116 Stat. 745. Nothing

in the legislative history of the Sarbanes-Oxley Act supports the notion that

Congress enacted §1512(c)(2) to criminalize the disruption of a ceremony before

Congress by persons engaged in a political rally, no matter how large the crowd or

how disorderly the activities of some in the crowd may have become. Rather, the

Sarbanes-Oxley Act “was prompted by the exposure of Enron’s massive

accounting fraud and revelations that the company’s outside auditor, Arthur

Andersen LLP, had systematically destroyed potentially incriminating documents.”

Yates v. United States, 574 U.S. 528, 535-36 (2015). The Senate Judiciary

Committee report described the Act’s purpose as “provid[ing] for criminal


5
  This interpretation is consistent with the case law that has clarified the meaning of the statutory
language at issue here. See e.g. Arthur Anderson, LLP, 544 U.S. at 708 (interpreting §1512(c)
as requiring that the defendant have “knowledge that his actions are likely to affect [a]judicial
proceeding” in order to have the “requisite intent to obstruct’); United States v. Burge, 711 F.3d
803, 809 (7th Cir. 2013)(considering the application of §1512 and noting that “[o]bstruction of
justice occurs when a defendant acts to impede the types of proceedings that take place before
judges or grand juries.”) cert. denied, 571 U.S. 888 (2014); United States v. Sampson, 898 F.3d
287, 300 (2d Cir. 2018)(noting that §1512 “broadly criminalizes various forms of witness
tampering”).
                                                 17
       Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 18 of 35



prosecution and enhanced penalties of persons who defraud investors in publicly

traded securities or alter or destroy evidence in certain Federal investigations,” S.

REP. NO. 107-146, at 2 (2002)(emphasis added).

      In Yates, the Supreme Court narrowly construed the term “tangible object”

as set forth in 18 U.S.C. § 1519, which penalized a person who

      knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or
      makes a false entry in any record, document, or tangible object with
      the intent to impede, obstruct, or influence the investigation or proper
      administration of any matter within the jurisdiction of any department
      or agency of the United States . . .

18 U.S.C. § 1519. Keeping in mind that Congress designed the Sarbanes-Oxley

Act with a “trained [] attention on corporate and accounting deception and cover-

ups,” the Court held that the Act did not contemplate penalizing the act of tossing

undersized fish overboard to avoid the consequences of an inspection by federal

authorities. Id. at 532. Rather, in the context of the statute’s purpose, a “tangible

object” must be one used to record or preserve information. Id. Thus, while fish are

tangible objects in the lay sense of that phrase, they do not qualify as tangible

objects under §1519 given the broader context of the Sarbanes-Oxley Act. In

rendering the Yates decision, the Supreme Court clearly telegraphed that legal

terms are to be narrowly construed given the legislative history and purpose of the

Sarbanes-Oxley Act.

      In short, when considering the Act’s preamble and legislative history, it is

clear that §1512(c) was aimed at preventing corporations from destroying records

                                          18
        Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 19 of 35



relevant to a federal hearing related to the administration of justice. The legislative

background of §1512(c) makes plain that it was not intended to apply in all

circumstances where any government function may have been impeded, and given

this context, the certification of the Electoral College votes does not qualify as an

“official proceeding” under the statute.

              4.      Other Tools of Statutory Interpretation Support Mr.
                      Fischer’s Motion to Dismiss

       Sections 1512 and 1515 are contained in Chapter 73 of Title 18 of the

United States Code. Examining the surrounding statutory provisions in Chapter 73

further supports Mr. Fischer’s interpretation of the statute at issue. 6 Several of the

subsections of Chapter 73 explicitly relate to the administration of justice. See 18

U.S.C. §§ 1503, 1504 (Influencing or injuring a juror); §1513 (Retaliating against a

witness, victim or informant); § 1521 (Retaliating against a federal judge or law

enforcement officer by false claim or slander of title). There is even a statute

within Chapter 73 that prohibits “picketing or parading” near the residence of a

judge, juror, witness, or court officer “with the intent of interfering with,

obstructing, or impeding the administration of justice.” 18 U.S.C. § 1507

(emphasis added). All of these laws are related to the obstruction of the

administration of justice. Section 1512(c) falls right within their midst.


6
  See NASDAQ Stock Mkt., LLC v. Sec. & Exch. Comm’n, 961 F.3d 421, 426 (D.C. Cir.
2020)(quoting Util. Air Regulatory Grp. V. E.P.A., 573 U.S. 302, 321 (2014))(“A statutory
provision that may seem ambiguous in isolation is often clarified by the remainder of the
statutory scheme[,] because only one of the permissible meanings produces a substantive effect
that is compatible with the rest of the law.”).
                                              19
          Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 20 of 35



                 5.     Congress Has Used Other Terms to Describe Interference
                        with Electoral College Certification

         Mr. Fischer submits that the government incorrectly conflated an “official

proceeding” under §1512 with a “federally protected function” under 18 U.S.C. §

231(a)(3) or the “official business” of Congress under 40 U.S.C. § 5104(e)(2)(c).

In Count One of the Indictment, for example, the government charged Mr. Fischer

with Civil Disorder under 18 U.S.C. § 231(a)(3), alleging that his actions “affected

the conduct and performance of a federally protected function.” 7 (Doc. 27, p.

2)(emphasis added). Similarly, in Counts Six and Seven, the government charged

Mr. Fischer with violation 40 U.S.C. § 5104(e), which prohibits entering “any of

the Capitol Building[s]” intending “to disrupt the orderly conduct of official

business[.]” 40 U.S.C. § 5104(e)(2)(c) (emphasis added). Mr. Fischer submits that

the ceremonial certification of the Electoral College by Congress may be more

appropriately considered the “official business” of Congress or a “federally

protected function” rather than an “official proceeding before the Congress” as

captured by 18 U.S.C. §§ 1512(c) and 1515. Charging Mr. Fischer with

obstruction under 18 U.S.C. § 1512(c)(2) is, quite simply, overkill.



7
    The term “federally protected function” is defined as:

         [A]ny function, operation or action carried out, under the laws of the United
         States, by any department, agency, or instrumentality of the United States or by an
         officer or employee thereof; and such term shall specifically include, but not be
         limited to, the collection and distribution of the United States mails.

18 U.S.C. § 232(3).
                                                 20
       Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 21 of 35



      C.     Alternatively, Section 1512(c)(2) is Unconstitutionally Vague

      Under the same principles of United States v. Johnson, 576 U.S. 591 (2015)

and its progeny, 18 U.S.C. § 1512(c)(2) violates due process because it is vague

and does not provide fair notice to Mr. Fischer as to the conduct it punishes.

Section 1512(c)(2) provides that:

      Whoever corruptly –

             (1)   alters, destroys, mutilates, or conceals a record,
                   document, or other object, or attempts to do so, with the
                   intent to impair the object’s integrity or availability for
                   use in an official proceeding; or

             (2)   Otherwise obstructs, influences, or impedes any official
                   proceeding, or attempts to do so, . . . shall be fined . . . or
                   imprisoned . . .

18 U.S.C. §§ 1512(c)(1) and (2).

      First, §1512(c) uses words throughout both subsections that require courts to

speculate as to their meaning in the context of the defendant’s particular actions.

To wit, courts must speculate as to the meaning of the word “corruptly” and the

phrase “official proceeding.” Perhaps more problematic is the residual clause of

subsection (c)(2), one that is so ambiguous, requiring courts to line-draw when

determining if a defendant has “otherwise” obstructed, impeded, or influenced an

official proceeding before Congress.

      In Johnson, the Supreme Court considered the constitutionality of

residual clause of the Armed Career Criminal Act, which enhanced a

defendant’s sentence if the defendant had a conviction for a prior felony that
                                          21
       Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 22 of 35



“otherwise involved conduct that presented a serious potential risk of

physical injury to another.” Johnson, 576 U.S. at 591. In finding a due

process violation, the Supreme Court explained that the residual clause

required a “wide-ranging inquiry” in each case as to what could potentially

cause injury in each set of circumstances. Johnson, 576 U.S. at 597.

Observing that the ambiguity of the residual clause resulted in disparate

interpretations, the Supreme Court acknowledged that the “failure of

persistent efforts to establish a standard can provide evidence of vagueness.”

Id. at 598.

      Similarly, here, the residual clause of §1512(c) is constitutionally

vague, requiring courts to speculate and line-draw when distinguishing

“official proceedings” from mere ancillary proceedings or investigations.

As discussed at length above, courts have generally interpreted “official

proceeding” to mean something more formal than an investigation, but there

has been no established standard, leaving the courts to deal with this

ambiguity.

      Further, the vagueness of the statute is not limited to the confusion

that surrounds what constitutes an “official proceeding.” The D.C. Circuit

has acknowledged that the word “corruptly” is vague on its face as used in a

similar statute, 18 U.S.C. § 1505, that prohibits obstruction of a proceeding

before departments, agencies, or congressional investigations. The court

                                         22
       Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 23 of 35



held that “in the absence of some narrowing gloss, people must guess at its

meaning and application.” United States v. Poindexter, 951 F.2d 369, 398

(D.C. Cir. 1991). Previously, in Ricks v. District of Columbia, 414 F.2d

1097 (D.C. Cir. 1968), the court had held that a statute that criminalized

“leading an immoral or profligate life” vague because it found “immoral” to

be synonymous with “corrupt, depraved, indecent, dissolute, all of which

would result in ‘an almost boundless area for the individual assessment of

another’s behavior.’” Poindexter, 951 F.2d at 399 (quoting Ricks, 414 F.2d

at 1097). The court explained that various dictionary definitions of the word

“corrupt” did not reduce the confusion as to its meaning for purposes of the

statute. Id. After an assessment of the legislative history and judicial

interpretation, the court concluded that neither of those inquiries provided

defendants with the constitutionally required notice that the statute requires,

and found the term vague as applied to the defendant making false

statements. Id. at 406.

      Following Poindexter, Congress amended §1515 to define “corruptly”

for purposes of §1505 only to mean “acting with an improper purpose,

personally or by influencing another, including making a false or misleading

statement, or withholding, concealing, altering, or destroying a document or

other information.” §1515(b). However, this amendment did not resolve the




                                          23
       Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 24 of 35



vagueness that still exists in §1512 as Congress did not amend §1515 as it

applies to §1512.

      Even though the D.C. Circuit later held that the word “corruptly” was

not vague as applied, it was because in that case the defendant influenced a

witness, which fits squarely within the non-vague category that Poindexter

established. See United States v. Morrison, 98 F.3d 619, 630 (D.C. Cir.

1996). In Morrison, the defendant tried to influence a witness’s testimony

and “exhorted her to violate her legal duty to testify truthfully in court.” Id.

The Poindexter Court explained that influencing another to “violate their

legal duty” was not vague because “it would both take account of the context

in which the term ‘corruptly’ appears and avoid the vagueness inherent in

words like ‘immorally.’” Poindexter, 951 F.2d at 379. However, Morrison

was not faced with the question of what “corruptly” means in the context of

§1512(c) and does not resolve the ambiguity that the word presents in

conjunction with the rest of the statute. Even taking “corruptly influences”

together is still vague because “influence” alone is another vague word and

means something different than “influencing another to violate their legal

duty” as described in §1515.

      Further, analyzing the government’s approach to charging defendants

with a violation of §1512(c)(2) arising out of events on January 6, 2021,

illustrates how vague and arbitrary the enforcement of this statute can be.

                                           24
           Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 25 of 35



Initially, it seemed that the government was only charging those individuals

who had entered the Senate chamber8 with a §1512(c)(2) violation.

However, a snapshot of some of defendants that have been charged with a

violation of §1512(c)(2) brings the inconsistencies into stark relief.

         (1)     United States v. Isaac Sturgeon, 21-cr-91, Mr. Sturgeon is

alleged to have assisted in pushing a barricade outside the Capitol building

but never entered the Senate chamber, never went inside the Capitol

building, and never made any threats to law enforcement or on social media

suggesting he wished to disrupt the vote. Mr. Sturgeon is not alleged to be

part of the Oath Keepers or the Proud Boys.

         (2)     United States v. Kenneth Grayson, 21-cr-224, Mr. Grayson is

alleged to have entered the Capitol building, but not alleged to have entered

the Senate chamber. Prior to January 6, 2021, he allegedly wrote in a private

message, “I am there for the greatest celebration of all time after Pence leads

the Senate flip! OR IM THERE IF TRUMP TELLS US TO STORM THE

FUKIN CAPITOL IME DO THAT THEN!”

         (3)     United States v. Benjamin Larocca, 21-cr-317, Mr. Larocca

allegedly entered the Capitol building while screaming “Our House!” He

was with an individual who was allegedly yelling, “You fucking oath




8
    The ceremonial Electoral College certification took place in the Senate Chamber.
                                                 25
       Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 26 of 35



breakers!” Mr. Larocca is not alleged to have entered the Senate floor and is

not a member of the Proud Boys or Oath Keepers.

      (4)    United States v. Sean Michael McHugh, 21-cr-436, Mr.

McHugh allegedly employed bear spray in direction of officers and yelled

insults at officers. He also allegedly used a megaphone and engaged the

crowd with chant, such as “our house!” There is no evidence he entered the

Capitol building or the Senate floor.

      (5)    United States v. Dale Jeremiah Shalvey, 21-cr-334, Mr.

Shalvey allegedly entered the Senate chamber and is captured on video

rummaging through Senator Cruz’s notes. However, he is not alleged to be

a part of the Oath Keepers or the Proud Boys.

      As illustrated by these cases, the facts and circumstances of each vary

drastically from each other and make it clear that the government’s charging

decisions are inconsistent. Some cases allege entry into the Capitol building

while others do not. More importantly, the government does not specify

what “influence” these defendants had or how exactly they “impeded.”

With respect to Mr. Fischer, he was originally charged via criminal

complaint and indicted in March of 2021. Mr. Fischer is alleged to have

entered the Capitol building, but not the Senate chamber, and he was inside

the building for approximately four minutes. The inconsistent charging

decisions along with the inherently vague words of the statute, as well as the

                                         26
       Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 27 of 35



“residual clause” that is the basis for charging Mr. Fischer all show that 18

U.S.C. § 1512(c)(2) is unconstitutionally vague and does not provide fair

notice to Mr. Fischer.

V.    MOTION TO DISMISS COUNTS FOUR AND FIVE – RESTRICTED
      BUILDING AND GROUNDS

      Counts Four of the Superseding Indictment charges Mr. Fischer with a

violation of 18 U.S.C. § 1752(a)(1) as follows:

      On or about January 6, 2021, within the District of Columbia and
      elsewhere, Joseph W. Fischer, did knowingly enter and remain in a
      restricted building and grounds, that is, any posted, cordoned-off, and
      otherwise restricted area within the United States Capitol and its
      grounds, where the Vice President was temporarily visiting, without
      lawful authority to do so.

      (Entering and Remaining in a Restricted Building or Grounds, in
      violation of Title 18, United States Code, Section 1752(a)(1))

      Count Five of the Indictment charges Mr. Fischer with a violation of 18

U.S.C. § 1752(a)(2) as follows:

      On or about January 6, 2021, within the District of Columbia and
      elsewhere, Joseph W. Fischer, did knowingly and with intent to
      impede and disrupt the orderly conduct in and within such proximity
      to, a restricted building and grounds, that is, any posted, cordoned-off,
      and otherwise restricted area within the United States Capitol and its
      grounds, where the Vice President was temporarily visiting, when and
      so that such conduct did in fact impede and disrupt the orderly
      conduct of Government business and official functions.

      (Disorderly and Disruptive Conduct in a Restricted Building or
      Grounds, in violation of Title 18, United States Code, Section
      1752(a)(2))

(Doc. 52, Superseding Indictment, pp. 2-3).

                                          27
       Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 28 of 35



      Both of these charges concern certain conduct related to statutorily

“restricted building or grounds.” 18 U.S.C. § 1752(c) provides the following

definition:

              (1)   the term “restricted building or grounds” means any
                    posted, cordoned off, or otherwise restricted area –
                    (A)   of the White House or its grounds, or the Vice
                          President’s official residence or grounds;
                    (B)   of a building or grounds where the President or
                          other person protected by the Secret Service is
                          or will temporarily be visiting; or
                    (C)   of a building or grounds so restricted in
                          conjunction with an event designated as a special
                          event of national significance.
18 U.S.C. § 1782(c)(1)(A)-(C) (emphasis added).

      The United State Capitol and its grounds are not specifically included in the

definition set forth above. Rather, the government alleges that the Capitol was a

“restricted building and grounds” on January 6th because it was a “building or

grounds where the President or other person protected by the Secret Service is or

will temporarily be visiting.” 18 U.S.C. § 1752(c)(1)(B). The “other person,” as

set forth in the Indictment, was then-Vice President Michael Pence. Accordingly,

Mr. Fischer did not violate §1752 unless then-Vice President Pence was 1)

“visiting” or “temporarily visiting” the specific area that Mr. Fischer traversed; and

2) the Secret Service designated that area as a restricted zone. The government

cannot establish either element for the reasons that follow.




                                          28
       Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 29 of 35



      A.     Vice President Pence was not “Temporarily Visiting” the Capitol

      Then-Vice President Pence was not “temporarily visiting” the Capitol on

January 6, 2021. The Capitol is a federal government building in the District of

Columbia. Vice President Pence lived and worked in D.C. at his official residence,

and actually worked at the Capitol Building and grounds – it was his place of

employment. Vice President Pence had a permanent office “within the United

States Capitol and its grounds,” in his capacity as President of the Senate. On

January 6th, Vice President Pence was working -- he was presiding in the Senate

chamber to count the electoral votes. See U.S.C. § 15 (“Congress shall be in

session on the sixth day of January succeeding every meeting of the electors. The

Senate and House of Representatives shall meet in the hall of the House of

Representatives at the hour of 1 o’clock in the afternoon on that day, and the

President of the Senate shall be their presiding officer.”) (emphasis added).

      Past cases support this plain, common-sense reading of the statute, as they

involve conduct in or near areas where the President and Vice President were

clearly “temporarily visiting.” See United States v. Bursey, 416 F.3d 301 (4th Cir.

2005) (defendant entered and remained in a restricted area at an airport in South

Carolina where the President was visiting for a political rally); United State v.

Junot, 902 F.2d 1580 (9th Cir. 1990) (defendant pushed his way through a

restricted area where then-Vice President George Bush was speaking at a rally at a

park in Los Angeles that was secured by Secret Service agents); Blair v. City of

                                          29
        Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 30 of 35



Evansville, Ind., 361 F. Supp. 2d. 846 (S.D. Ind. 2005) (defendant charged with 18

U.S.C. § 1752 at protest during then-Vice President Richard Cheney’s visit to the

Centre in Evansville, Indiana). These cases all involve the President and Vice

President traveling outside of the District of Columbia and “visiting” that area for a

“temporary” purpose, consistent with the plain meaning of §1752(c)(1)(B). Vice

President Pence was not traveling to a speaking event or political rally on January

6th – rather he was performing a duty of his office in a building where he had a

permanent office. Based on the plain language of 18 U.S.C. § 1752, he was not

“temporarily visiting” the Capitol building and §1752 does not apply as charged.

       B.      The Secret Service did not “Restrict” the Capitol or its Grounds
               on January 6th

       The legislative history of 18 U.S.C. § 1752 and the statutory authorization of

18 U.S.C. § 3056 9 make it clear that only the United States Secret Service (“Secret

Service”) can restrict areas for temporary visits by the President or Vice President.

A particular place does not become restricted just because the Vice President

enters it; rather, the Secret Service, the agency in charge of protecting the Vice

President, must create the temporary restricted zone to facilitate its duty to protect.

Indeed, the Government has specifically argued that it is the “Secret Service” that

“exercise[s] its discretion to determine the scope of the restricted area necessary to

protect” a designated person. United States v. Jabr, Cr. No. 18-105 (PLF), ECF


9
 This statute authorizes the Secret Service to protect high-ranking officials, including the Vice
President.
                                                30
        Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 31 of 35



#26 at page 9. The Government does not allege that any of the barriers that Mr.

Fischer allegedly crossed10 were specifically erected for the Vice-President’s visit

at the direction of the Secret Service. On January 6, 2021, the restrictions placed

on the Capitol were created by the Capitol Police, not the Secret Service.11 As

such, a necessary factual predicate to a 18 U.S.C. § 1752 offense is lacking, and

Counts Four and Five must be dismissed for failure to state a claim.

VI.    In the Alternative, the Indictment Should be Dismissed because its
       Language Neither Provides Adequate Notice nor Assures that the
       Grand Jury Made the Determinations Required by the Fifth
       Amendment

       The constitutional rights to presentment to a grand jury and adequate notice

of the charges are embedded in the Fifth and Sixth Amendments to the United

States Constitution and in Rule 7(c) of the Federal Rules of Criminal Procedure. In



10
   Further, it is important to note that Mr. Fischer did not reach the Capitol complex until about
an hour after the initial breach, and by then all of the physical barriers to entry had been
removed. Further, video footage obtained in discovery shows that when Mr. Fischer entered the
doors to the Capitol, the police officer stationed at the door did not make any attempt to block or
stop his entry into the building.
11
  Additional legislative history and language also confirm that the “posted, cordoned off, or
otherwise restrict area[s]” must be created by the Secret Service to trigger the statute. As
originally passed in 1970, the statute, 84 Stat. 1891, authorized the Treasury Department, which
included the Secret Service at that time, to prescribe regulations for restricting grounds where the
President and other protected leaders would visit. See 18 U.S.C. § 1752(d)(2); 84 Stat. 1891.
Accordingly, the Treasury Department implemented numerous regulations, including
requirements that the Secret Service designate certain “temporary residences” and “temporary
offices” of their protectees and provide “notice to prospective visitors.” 31 C.F.R. § 408.2(c). In
2006, Congress, likely because the Secret Service was reassigned to the Department of
Homeland Security, repealed subsection (d) of §1752, which authorized the Treasury
Department to promulgate regulations. See Pub. L. 109-177, Title VI, Sec. 602, 120 Stat. 252
(March 9, 2006). Nonetheless, the clear legislative intent behind §1752 from the date of its
enactment was to provide the Secret Service with authorization to create temporary protected
zones to facilitate its role in protecting the President and other protectees.
                                                31
       Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 32 of 35



the array of January 6th cases, the government mass produced indictments identical

in language with little exception. A review of Superseding Indictment against Mr.

Fischer reveals that the charges lack any specifics regarding the alleged acts or

circumstances and contains only conclusory allegations.

      “[R]eal notice of the true nature of the charge” is “the first and most

universally recognized requirement of due process.” Smith v. O’Grady, 312 U.S.

329, 334 (1941). In holding that the notice requirements of the Sixth Amendment

apply to the States through the requirement of due process, the Supreme Court

stated: “No principle of procedural due process is more clearly established than

that notice of the specific charge [is] among the constitutional rights of every

accused in a criminal proceeding in all courts, state or federal.” Cole v. Arkansas,

333 U.S. 196, 201 (1948); see Joseph Story, Commentaries on the Constitution, §

1799 (1833) (“[T]he indictment must charge the time, and place, and nature, and

circumstances of the offense, with clearness and certainty; so that the party may

have full notice of the charge, and be able to make his defense with all reasonable

knowledge and ability.”).

      The Fifth Amendment’s presentment provision also requires that the facts be

elucidated sufficiently in the indictment so that the grand jury’s finding of probable

cause can be ascertained and to foreclose conviction based on any offense not

found by the grand jury. See Stirone, 361 U.S. at 215. Without specificity of

charged conduct and circumstances, the court would be forced to “guess what was

                                          32
        Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 33 of 35



in the minds of the grand jury at the time they returned the indictment,” which

would “deprive the defendant of a basic protection that the grand jury was

designed to secure,” by allowing a defendant to be convicted “on the basis of facts

not found by, and perhaps not even presented to, the grand jury that indicted him.”

United States v. Du Bo, 186 F.3d 1177, 1179 (9th Cir. 1999) (quoting United States

v. Keith, 605 F.2d 462, 464 (9th Cir. 1979) (citing Russell v. United States, 369

U.S. 749, 770 (1962)).

       The assembly-line indictments in the January 6th cases generally, and Mr.

Fischer’s case in particular, fail to fulfill either the notice or presentment

requirements of the Fifth and Sixth Amendments. There is no attempt within the

indictment to fulfill Rule 7(c)’s requirement of a “plain, concise, and definite

written statement of the essential facts constituting the offense charged.” The

indictment does not include any description of Mr. Fischer’s actual conduct or the

specific circumstances involved. 12 Accordingly, the indictment in this case does

not demonstrate that the grand jury made the required finding of probable cause,

and it provides the defense no notice of the conduct charged.




12
   In the course of discovery, the Government has provided the defense with some details of
some the offenses charged, however Mr. Fischer maintains his contention that the indictment
itself does not satisfy the requirements of Fed. R. Crim. P. 7(c).
                                              33
        Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 34 of 35



VII. CONCLUSION

       For the reasons set forth hereinabove, the defendant, Joseph W. Fischer,

respectfully requests that this Honorable Court grant the foregoing motion to

dismiss. 13

Date: January 12, 2022                              Respectfully submitted:

                                                    /s/ Lori J. Ulrich
                                                    LORI J. ULRICH, ESQUIRE
                                                    Assistant Federal Public Defender
                                                    /s/ Amanda R. Gaynor
                                                    AMANDA R. GAYNOR, ESQUIRE
                                                    Staff Attorney
                                                    100 Chestnut Street, Suite 306
                                                    Harrisburg, PA 17101
                                                    Tel. No. (717) 782-2237
                                                    Fax No. (717) 782-3881
                                                    lori_ulrich@fd.org
                                                    amanda_gaynor@fd.org

                                                    /s/ Eugene Ohm
                                                    EUGENE OHM, ESQUIRE
                                                    Federal Public Defender
                                                    625 Indiana Avenue, NW
                                                    Washington, D.C. 20004
                                                    Tel. No. (202) 208-7500
                                                    eugene_ohm@fd.org

                                                    Attorneys for Joseph W. Fischer




13
  The defense acknowledges that other judges in this District have issued opinions denying
similar motions to dismiss filed by other January 6th defendants. However, those opinions are
not binding on this Honorable Court.
                                               34
       Case 1:21-cr-00234-CJN Document 54 Filed 01/12/22 Page 35 of 35



                         CERTIFICATE OF SERVICE

      I, Lori J. Ulrich, Esquire, of the Federal Public Defender’s Office, do hereby

certify that I served a copy of the foregoing Motion to Dismiss Counts Five and

Six of the Indictment for Failure to State an Offense and Memorandum of

Law in Support Thereof via Electronic Case Filing, and/or by placing a copy in

the United States mail, first class in Harrisburg, Pennsylvania, and/or by hand

delivery, addressed to the following:

      Alexis Jane Loeb, Esquire
      Assistant United States Attorney
      alexis.loeb@usdoj.gov

      JOSEPH W. FISCHER



Date: January 12, 2022                        /s/ Lori J. Ulrich
                                              LORI J. ULRICH, ESQUIRE
                                              Assistant Federal Public Defender
                                              Attorney ID #55626
                                              100 Chestnut Street, Suite 306
                                              Harrisburg, PA 17101
                                              Tel. No. (717) 782-2237
                                              Fax No. (717) 782-3881
                                              lori_ulrich@fd.org
                                              Attorney for Joseph W. Fischer




                                         35
